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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF ILLINOIS
                               EAST ST. LOUIS DIVISION DIVISION


IN RE:                                                   CASE NO. 11-30365
                                                         CHAPTER 13
Emily C Graeff
                                                         JUDGE LAURA K GRANDY

         DEBTOR                                          NOTICE OF FINAL CURE PAYMENT



Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, RUSSELL C.
SIMON, TRUSTEE files this Notice of Final Cure Payment. The amount required to cure the default in
the claim listed below has been paid in full.

Name of Creditor: US BANK NA



Final Cure Amount

Court   Account                                  Claim               Claim               Amount
Claim # Number                                   Asserted            Allowed             Paid

   7      6933                                   $36,352.92          $36,352.92          $36,352.92

Total Amount Paid by Trustee                                                             $36,352.92


Monthly Ongoing Mortgage Payment

Mortgage is Paid:

 X Through the Chapter 13 Conduit                         Direct by the Debtor


Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve a
Statement as a supplement to the holder’s proof of claim on the Debtor, Debtor's Counsel and the
Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtor
has paid in full the amount required to cure the default on the claim; and 2) whether the Debtor is
otherwise current on all payments consistent with 11 U.S.C. § 1322(b)(5).

The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends
remain unpaid as of the date of the statement. The statement shall be filed as a supplement to the
holder’s proof of claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.
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   THE CREDITOR IS HEREBY NOTIFIED THAT AN APPROPRIATE RESPONSE MUST
   BE FILED NO LATER THAN 21 DAYS FROM THE DATE OF THIS NOTICE. ABSENT
   A TIMELY RESPONSE, AN ORDER DEEMING THE DEFAULT ON THE CLAIM HAS
   BEEN PAID IN FULL, AS WELL AS ANY AMOUNT(S) PROVIDED FOR THROUGH
   THE PLAN, WILL BE ENTERED BY THE COURT WITHOUT FURTHER HEARING.


Date: March 15, 2016                                        /s/ RUSSELL C. SIMON, TRUSTEE
                                                            RUSSELL C. SIMON, TRUSTEE
                                                            Chapter 13 Trustee
                                                            24 BRONZE POINTE
                                                            SWANSEA, IL 62226



                                   CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Notice of Final Cure Payment was served on the parties
listed below by ordinary U.S. Mail (with the correct postage prepaid and deposited in the U.S.
Mail in Belleville, IL) or served electronically through the Court's ECF System at the email
address registered with the Court on this day, March 15, 2016.

                                            /s/ Mindy


Emily C Graeff
32 Woodside Dr
Belleville, IL 62223


US BANK NA
C/O OCWEN LOAN SERVICING LLC
1661 WORTHINGTON RD STE 100
WEST PALM BEACH, FL 33409



MICHAEL J BENSON
801 LINCOLN HIGHWAY, STE B
FAIRVIEW HEIGHTS, IL 62208
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OCWEN LOAN SERVICING LLC
P. O. BOX 24605
WEST PALM BEACH, FL 33416-4605



BURKE COSTANZA & CARBERRY
9191 BROADWAY
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